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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )            Case No. 8:05CR69
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
KADIM ABDULLAH,                               )
                                              )
                      Defendant.              )


       IT IS ORDERED that a change of plea for the defendant, Kadim Abdullah, is scheduled

before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111

South 18th Plaza, Omaha, Nebraska, on July 8, 2005, at 2:00 p.m. Since this is a criminal case,

the defendant shall be present, unless excused by the court. If an interpreter is required, one must

be requested by the plaintiff in writing five (5) days in advance of the scheduled hearing.

       DATED this 22nd day of June, 2005.

                                              BY THE COURT:




                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
